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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,
                                                         SCHEDULING ORDER

 v.                                                      Case No. 24-cr-41

 PAUL RASLAWSKY,
                              Defendant.


              On March 13, 2024, defendant was arraigned pursuant to Fed. R. Crim P.

(“Rule”) 10 and entered a plea of not guilty pursuant to Rule 11(a)(1). Whereupon, the following

schedule was set:

       (1)    All voluntary discovery shall be completed by April 12, 2024.

       (2)    All pretrial motions, both dispositive and non-dispositive, including all supporting
              papers and memoranda of law in support thereof, shall be filed by May 20, 2024.
              Any motion to suppress statements or physical evidence must initially be
              accompanied by an appropriate affidavit (or declaration) from an individual with
              personal knowledge, failing which the court will normally recommend that the
              motion be denied without an evidentiary hearing. See United States v. Marshall,
              2012 WL 5511645, *2 (W.D.N.Y.), adopted 2012 WL 5948782 (W.D.N.Y.
              2012); United States v. Longo, 70 F.Supp.2d 225, 248 (W.D.N.Y. 1999). ALL
              MOTIONS SEEKING SEVERANCE ARE TO BE SEPARATELY FILED
              WITH HON. RICHRD J. ARCARA.

       (3)    All responses to pretrial motions, including all supporting papers and memoranda
              of law in support thereof, filed in accordance with the preceding paragraph shall
              be filed June 3, 2024.

       (4)    Replies, if any, shall be filed by June 10, 2024.

       (5)    Oral argument on any pretrial motions shall be heard on June 18, 2024 at
              2:00 p.m. If necessary, an evidentiary hearing will be scheduled for a later date.

       (6)    IF NO MOTIONS ARE FILED BY ANY DEFENDANT BY MAY 21, 2024,
              THE GOVERNMENT IS HEREBY ORDERED TO APPLY FOR A TRIAL
              DATE FROM HON. RICHARD J. ARCARA NO LATER THAN MAY 22,
              2024.
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               As of May 20, 2024, no time will have elapsed from the Speedy Trial Act

Calendar. For the reasons stated on the record, I find that the government and the public’s

interest in a speedy trial is outweighed by the defendant’s interest in having effective assistance

of counsel by allowing sufficient time to review discovery and frame appropriate motions.

Therefore, the time period from today’s date until May 20, 2024 is excluded under 18 U.S.C.

§§3161(h)(7)(A) and 3161(h)(7)(B)(iv)

               If pretrial motions are filed on or before May 20, 2024, the period of time from

the filing of said motions through June 18, 2024 will be excluded pursuant to 18 U.S.C.

§3161(h)(1)(D).

               No extension of the above deadlines will be granted except upon written

application, filed prior to the deadline, showing cause for the extension. Such application shall

indicate whether the opposing party consents to the requested extension and address any further

exclusion of time from the Speedy Trial Act calendar. Any motion identified in Rule 12(b)(3)

that is not filed by the deadline set for filing pretrial motions will be denied as untimely, unless

accompanied by a showing of “good cause”. See Rule 12(c)(3).

SO ORDERED.

Dated: March 13, 2024

                                                        /s/ Jeremiah J. McCarthy
                                                        JEREMIAH J. MCCARTHY
                                                        United States Magistrate Judge




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